       Case 1:13-cv-12544-WGY Document 265 Filed 07/10/19 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS

IN RE ARIAD PHARMACEUTICALS, INC.                )    No, l:13-cv-12544 (WGY)
SECURITIES LITIGATION                            )




            il'ROI'USEDJ ORDER APPROVING SETTLEMENT DISTRIBUTION
        TO AUTHORIZED CLAIMANTS AND GRANTING RELATED RELIEF


       THIS MATTER having come before the Court on themotion of The City of Fort

Lauderdale Police &Fire Retirement System and William A. Gaul for authorization to distribute

theNet Settlement Fund; the Settlement having reached its Effective Date; and the Court having

considered all papers filed and proceedings had herein and otherwise being fully informed;
       IT IS HEREBY ORDERED, ADJUDGED AND DECREED that:

       1.      All ofthe capitalized terms used herein shall have the same meanings as set forth
inthe Stipulation and Agreement ofSettlement, dated as ofNovember 29, 2017 (the
"Stipulation," ECF No. 236).

       2.      The administrative recommendations of Epiq Class Action & Claims Solutions,

Inc. ("Epiq" or"Claims Administrator"), the Court-appointed Claims Administrator, to accept
the Proof of Claim and Release forms ("Claim Forms"), including the late but otherwise eligible
Claim Forms, listed inExhibits B-1 and B-2 to the Declaration ofAlexander Villanova, dated
June 27, 2019 (the "Villanova Declaration" or"Villanova Decl."), are hereby APPROVED.
        3.      As determined by the Claims Administrator, wholly rejected or otherwise
ineligible Claim Forms are hereby REJECTED.
        4       yiie distribution of theNet Settlement Fund to Authorized Claimants is hereby

AUTHORIZED and shall be conducted in accordance with the Stipulation, the Court-approved
        Case 1:13-cv-12544-WGY Document 265 Filed 07/10/19 Page 2 of 2




Plan of Allocation, and the distribution plan forpayment of the Net Settlement Fund setforth in

paragraph 38 of the Villanova Declaration, which is hereby APPROVED.

       5.      No Claim Forms received or adjusted after May 18, 2019 will be eligible for

payment for any reason.

       6.      A payment inthe amount of$28,575 from the Settlement Fund for Epiq's
estimate of itsfees and expenses to be incurred inconnection with the initial distribution ofthe
Net Settlement Fund is hereby AUTHORIZED. If the incurred fees and expenses for the initial
distribution are lower than the estimate, the Claims Administrator shall promptly reimburse the

Net Settlement Fund.

       7.      The administration of the Settlementand the proposed distribution of the Net

Settlement Fund comply with the terms ofthe Stipulation and the Plan ofAllocation.
        8.     The Claims Administrator is authorized to destroy paper copies of the Claim

Forms and all supporting documents one year after the initial distribution ofthe Net Settlement
Fund and to destroy electronic copies ofthe same one year after all funds have been distributed.
        9.     The Court retains jurisdiction to consider any further applications concerning the
administration of the Settlement and such other and further relief as this Court deems

appropriate.
                    T/f
DATED this          " day of                      2019




                                                         BY THE COURT:



                                                         William G. Youm
                                                         UNITED STATES DIStRICT JUDGE
